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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America

      v.                                     Case No. 2:17-cr-138-1

Bernd D. Appleby


                                     ORDER
      By judgment entered on April 5, 2018, defendant was sentenced
to a term of incarceration of twenty-four months on Count 1 of the
information.       On April 9, 2020, defendant filed a motion for
release from detention based on the COVID-19 pandemic.                 See Doc.
135. The government is directed to respond to this motion on or
before April 27, 2020.


Date: April 16, 2020                     s/James L. Graham
                                  James L. Graham
                                  United States District Judge
